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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

TWIN CITY FIRE INSURANCE COMPANY, CIVIL ACTION NO. 20-CV-1623-JCC

Plaintiff(s), DECLARATION OF SERVICE OF: SUMMONS IN A
Vs. CIVIL ACTION; COMPLAINT FOR DECLARATORY
JUDGMENT: CIVIL COVER SHEET; NOTICE OF
LUNDBERG, LLC; and PACKAGING ELECTRONIC FILING; TWIN CITY FIRE
CORPORATION OF AMERICA, INSURANCE COMPANY’S DISCLOSURE
STATEMENT PURSUANT TO FED. R. CIV. P. 7.1
Defendant(s). AND LCR 7.1: ORDER REGARDING DISCOVERY
AND DEPOSITIONS.

 

 

 

 

STATE OF WASHINGTON
COUNTY OF KING

That I am now, and at all times herein mentioned, was a citizen of the United States and a
resident of the State of Washington, over the age of 18 years, not a party to or interested in the above
entitled action, and am competent to be a witness therein.

That at 3:55 P.M. on November 12", 2020, at 1420 Fifth Avenue, Suite 4200, Seattle,
Washington, I duly served the above-described documents in the above-described matter upon Lundberg,
LLC, by then and there personally delivering a true and correct copy thereof by leaving the same with
Allison Burgess, Office Services Lead of LPSL Corporate Services, Inc., its Registered Agent, who stated
that she was authorized to accept.

| declare under the penalty of perjury under the laws of the State of Washington that the

foregoing is true and correct.
Whalw

Signed at Seattle, Washington, on

 

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Process Fee: 12.00

Prep: 125.75

Travel: 28.00

Trace:

Bad Address: |
Declaration Fee: 12.00 j
Special Service:

Wait:

   

 

 

TOTAL $177.75 MATT NASCIMENTO KING CO. # 1217202
